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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


JAMES EDWARD MINSKI,

               Plaintiff,

               v.                                            CASE NO. 24-3014-JWL

SONYA LEWIS,

               Defendant.
                                            ORDER

       This matter is a civil rights action filed under 42 U.S.C. § 1983. Plaintiff proceeds pro se.

On May 10, 2024, the Court entered an order directing the Kansas Department of Corrections

(“KDOC”) to prepare a Martinez Report in this case. (Doc. 11.) On the same date, the Court

entered an e-service order for the defendant. (Doc. 12). The KDOC subsequently notified the

Court that the defendant is not a KDOC employee.

       IT IS THEREFORE ORDERED that the service order dated May 10, 2024 (Doc. 12) is

vacated.

       IT IS FURTHER ORDERED that the Court directs the Clerk of the Court to prepare and

issue a waiver of service form for the defendant pursuant to Fed. R. Civ. P. 4(d). Upon the filing

of the Martinez Report, the Court will screen Plaintiff’s Complaint and will enter an order setting

an answer deadline if the Complaint survives screening. Any answer deadline set forth in the

docket entry for the waiver of service is not controlling.

       IT IS SO ORDERED.

       Dated May 14, 2024, in Kansas City, Kansas.

                                              S/ John W. Lungstrum
                                              JOHN W. LUNGSTRUM
                                              UNITED STATES DISTRICT JUDGE

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